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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

H-D U.S.A., LLC,
                                                  Case No. 19-cv-03546
              Plaintiff,
                                                  Judge Gary Feinerman
v.
                                                  Magistrate Judge M. David Weisman
CHANGSHU CJ EQUIPMENT CO., LTD., et
al.,
              Defendants.


                     NOTICE OF DISMISSAL UNDER RULE 41(a)(1)

       Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure Plaintiff H-D U.S.A.,

LLC (“Harley-Davidson” or “Plaintiff”) hereby dismisses this action with prejudice against the

following Defendants:

                 Defendant Name                                 Line No.
                    accessory6                                     10
                blessing2011*2011                                  18
                   kingauto1998                                    40

Dated this 18th day of July 2019.          Respectfully submitted,


                                           /s/ RiKaleigh C. Johnson
                                           Amy C. Ziegler
                                           Justin R. Gaudio
                                           RiKaleigh C. Johnson
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